 Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 1 of 59 Page ID #:325



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     CONOR WOULFE, an individual, and PETER
12
     MICHAEL ROSZA, an individual
13
14                         UNITED STATES DISTRICT COURT

15                        CENTRAL DISTRICT OF CALIFORNIA

16
17   CONOR WOULFE, an individual, and            CASE NO.: 2:22-cv-00459-SVW-AGR
     PETER MICHAEL ROSZA, an
18   individual,                                 SECOND AMENDED CLASS
19                 Plaintiff,                    ACTION COMPLAINT

20        v.
21                                               DEMAND FOR JURY TRIAL
     UNIVERSAL CITY STUDIOS LLC,
22   d.b.a., UNIVERSAL PICTURES, a
     California limited liability company; and
23   DOES 1-20, inclusive,
24
25                Defendant,

26
27
28


                                                                  2:22-cv-00459-SVW-AGR
 Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 2 of 59 Page ID #:326




 1        Plaintiffs Conor Woulfe and Peter Michael Rosza (“Plaintiffs”) bring this class

 2 action complaint against Defendant Universal City Studios LLC, doing-business-as
 3 Universal Pictures (“Defendant”), individually and on behalf of all others similarly
 4 situated, and allege upon personal knowledge as to Plaintiffs’ acts and experiences, and,
 5 as to all other matters, upon information and belief, including investigation conducted by
 6 Plaintiffs’ attorneys.
 7
 8                               NATURE OF THE ACTION

 9        1.     This is a consumer protection class action arising out of Defendant’s false,
10 deceptive, and misleading advertising of the 2019 movie Yesterday.
11       2.     Defendant is an American film production and distribution company that
12 advertises, sells, broadcasts, licenses, and distributes feature films, including a movie
13 released in the year 2019 entitled Yesterday.
14        3.     Among other deceptions, Defendant’s nationwide advertising and promotion
15 of the movie Yesterday, and key word linking of Ana De Armas’ name to the movie on
16 digital movie platforms, represented and currently represents to prospective movie viewers
17 that the world famous actress Ana De Armas has a substantial character role in the film.
18        4.    Defendant’s movie Yesterday, however, fails to include any appearance of
19 Ana De Armas whatsoever. Accordingly, Defendant’s advertising and promotion of the
20 movie Yesterday is false, misleading, deceitful, unfair, fraudulent, and deceptive.
21        5.     Plaintiffs bring this action individually and on behalf of all other similarly
22 situated consumers to halt the dissemination of Defendant’s false, misleading,
23 deceitful, unfair, fraudulent, and deceptive representations, to correct the false and
24 misleading perception Defendant’s representations have created in the minds of
25
26
                                                  1
27                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                           2:22-cv-00459-SVW-AGR
28
 Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 3 of 59 Page ID #:327




 1 consumers, and to obtain redress for those who have purchased, rented, licensed, or
 2 otherwise paid for attending showings of the movie Yesterday.
 3                                             PARTIES
 4
           6.     Plaintiff Peter Michael Rosza (“Plaintiff Rosza”) is a forty-four year-old
 5
     citizen of the State of California, and, at all times relevant to this action, resided in San
 6
     Diego County, California.
 7
           7.     On or about October 31, 2021, Plaintiff Rosza watched Defendant’s
 8
     advertisement of the movie Yesterday, in the form of a movie trailer accessed and viewed
 9
     using Amazon.com’s internet movie streaming service. The movie trailer which Plaintiff
10
     Rosza viewed was false, misleading, deceitful, unfair, fraudulent, and deceptive. Among
11
     other false representations, the trailer promoted Ana De Armas as an actress that would
12
     appear in the film. Plaintiff Rosza viewed the movie trailer at his home in San Diego
13
     County, California. Persuaded by the movie trailer to view the film Yesterday because of
14
     its false representations, Plaintiff Rosza rented the movie. Upon watching the rented movie,
15
     Plaintiff Rosza discovered that, among other deceptions, Ana De Armas does not appear
16
     in the film. Plaintiff Rosza is a frequent movie consumer with experience watching movie
17
     trailer advertisements. Prior to his experience with the Yesterday trailer and movie, Plaintiff
18
     Rosza had never seen a movie trailer that featured an actor or actress that didn’t also appear
19
     in the film being advertised. For these and other reasons, Plaintiff Rosza interpreted the
20
     movie trailer for Yesterday as representing that Ana De Armas would appear in the actual
21
     movie.
22
           8.     Relying on the Defendant’s false, misleading, deceitful, unfair, fraudulent, and
23
     deceptive representations, Plaintiff Rosza purchased rights to view the movie Yesterday for
24
     approximately $3.99. By paying to view the falsely advertised movie, Plaintiff suffered
25
     injury-in-fact and lost money.
26
                                                    2
27                                 SECOND AMENDED CLASS ACTION COMPLAINT
                                                                               2:22-cv-00459-SVW-AGR
28
 Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 4 of 59 Page ID #:328




 1         9.     Plaintiff Conor Woulfe (“Plaintiff Woulfe”) is a thirty-eight year-old citizen

 2 of the State of Maryland, and, at all times relevant to this action, resided in Howard County,
 3 Maryland.
 4         10.    On or about July 12, 2021, Plaintiff Woulfe watched Defendant’s

 5 advertisement of the movie Yesterday, in the form of a movie trailer accessed and viewed
 6 using Amazon.com’s internet movie streaming service. The movie trailer which Plaintiff
 7 Woulfe viewed was false, misleading, deceitful, unfair, fraudulent, and deceptive. Among
 8 other false representations, the trailer promoted Ana De Armas as an actress that would
 9 appear in the film. Plaintiff Woulfe viewed the movie trailer at his home in Howard County,
10 Maryland. Persuaded by the movie trailer to view the film Yesterday because of its false
11 representations, Plaintiff Woulfe rented the movie. Upon watching the rented movie,
12 Plaintiff Woulfe discovered that, among other deceptions, Ana De Armas does not appear
13 in the film. Plaintiff Woulfe is a frequent movie consumer with experience watching movie
14 trailer advertisements. Prior to his experience with the Yesterday trailer and movie, Plaintiff
15 Woulfe had never seen a movie trailer that featured an actor or actress that didn’t also
16 appear in the film being advertised. For these and other reasons, Plaintiff Woulfe
17 interpreted the movie trailer for Yesterday as representing that Ana De Armas would appear
18 in the actual movie.
19         11.    Relying on the Defendant’s false, misleading, deceitful, unfair, fraudulent, and

20 deceptive representations, Plaintiff Woulfe purchased rights to view the movie Yesterday
21 for approximately $3.99. By paying to view the falsely advertised movie, Plaintiff suffered
22 injury-in-fact and lost money.
23        12. But for Defendant’s false and misleading representations and unfair,

24 fraudulent, and/or deceptive conduct promoting the movie, Plaintiffs would not have paid
25 to view the movie Yesterday.
26
                                                   3
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
 Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 5 of 59 Page ID #:329




 1         13.   Defendant is a limited liability company with a principal place of business at

 2 100 Universal City Plaza, Universal City, California 91608.
 3      14. Defendant is owned by Comcast Corporation (“Comcast”), by way of

 4 Comcast’s ownership of NBCUniversal. As a related and jointly controlled entity, which
 5 acts in concert with Defendant, digital video store VUDU is also owned by NBCUniversal
 6 by way of NBCUniversal’s 75% ownership of Fandango Media (“Fandango”). VUDU sells
 7 and rents Defendant’s movies for play in consumer’s homes, and Fandango sells tickets for
 8 movie theater showings of Defendant’s motion pictures. VUDU and Fandango each
 9 promote and sell Defendant’s movies in concert with and under the direction and control
10 of Defendant and for Defendant’s financial benefit. In some cases, for example, Fandango
11 sold movie tickets for Yesterday on Defendant’s website www.universalpictures.com.
12 Additonally, Defendant utilizes a website www.uphe.com which it uses to sell DVD copies
13 of movies directly to consumners, including the movie Yesterday.
14         15.   Defendant acquired rights to the movie Yesterday from production company,

15 Working Title Films Limited. In other words, the movie Yesterday is the creation of a third-
16 party other than Defendant. Defendant thereafter marketed, advertised, screened,
17 promoted, distributed, licensed, rented, and sold the movie to hundreds of thousands, if not
18 millions, of consumers in California and Maryland, knowingly utilizing false advertising
19 to do so. Likewise, and more specifically, Defendant’s false, deceptive, unfair, fraudulent,
20 and misleading advertisements were shown and distributed in California and Maryland.
21
22                               JURISDICTION AND VENUE
23
           16.   The Court has original jurisdiction under 28 U.S.C. § 1332(d)(2) (“Class
24
     Action Fairness Act” or “CAFA”) because the matter in controversy, exclusive of interest
25
     and costs, exceeds the sum or value of $5,000,000 and is a class action in which there are
26
                                                  4
27                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                           2:22-cv-00459-SVW-AGR
28
 Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 6 of 59 Page ID #:330




 1 in excess of 100 class members, and some of the members of the class are citizens of states
 2 different from Defendant, thus satisfying the minimal diversity requirement.
 3         17.   This Court has personal jurisdiction over Defendant because Defendant

 4 conducts business in California. Defendant marketed, advertised, screened, promoted,
 5 distributed, licensed, rented, and sold the movie Yesterday in and from California,
 6 rendering exercise of jurisdiction by California courts permissible.
 7       18. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(a) and (b)

 8 because a substantial part of the events and omissions giving rise to Plaintiffs’ claims
 9 occurred in this district. Venue also is proper under 18 U.S.C. § 1965(a) because
10 Defendant transacts substantial business in this district.
11
12                                FACTUAL ALLEGATIONS
13
     Introductory Background
14
15         19.   As the original format for motion pictures (or movies), some movies are

16 filmed using cameras that record movie scenes on physical film reels, typically in 35mm
17 or 70mm formats. After such a movie is completed (e.g., post editing, color correction,
18 etc.), the physical film is duplicated onto additional film reels (often two reels, for longer
19 length movies), and the physical film reels are delivered in protective cannisters to movie
20 theaters around the country for play on film projectors at the respective theaters. Movie
21 consumers (persons that pay to watch or buy movies) which view such a conventional
22 format movie today thereafter buy tickets which are issued in physical form at a theater or
23 digitally online. Moreover, often digital tickets are formatted for physical printing onto
24 paper so that the digital purchase could be proven at the movie theater entrance (by turning
25 in the printed digital ticket). In other words, for movies which are recorded on conventional
26 film, movie consumers purchase tickets for the right to view (and hear) the display of a
                                                   5
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
 Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 7 of 59 Page ID #:331




 1 movie which is accomplished by operating a physical film projector playing one or more
 2 physical film reels. At a modern movie theater, luxury seating and food and beverages are
 3 often supplied with the play of the movie, and a technician activiely monitors the play of
 4 the movie to adjust the volume or to correct projection (or similar) issues during movie
 5 play.
 6         20.   Although conventional film reels are still used today, it is more common

 7 now for movies to be recorded with digital cameras. Like film reels, however, a digitally
 8 shot film is recorded using a camera that writes the imagery and sound onto a digital
 9 file recorded onto a physical digital recording medium. Also like a film-shot movie,
10 once the digital movie is edited and otherwise completed, the movie is copied in
11 physical form, and the physical movie copies are loaded into protective plastic cases
12 (e.g., often with cables and adaptors) – collectively termed Digital Cinema Packages
13 (“DCPs”) – which are then shipped to movie theaters around the country for display at
14 movie theaters with digital film projection capabilities. At such theaters, movie
15 consumers are once again paying to view and hear the operation of the physical DCPs
16 which play the movies as tangible sight and sound. When paying to view the movie,
17 like with a film-shot movie, the consumers buy physical or digital tickets. Alternatively,
18 for some movies, the contents of physical digital film packages are transmitted by
19 satellite to movie theaters which then store the movies on physical storage platforms for
20 display to consumers as tangible imagery and sound. Often license keys are required,
21 sold by the movie distributor, which “open” access to the satellite transmitted movie for
22 display to movie patrons.
23         21.   In addition to shipping physical movie copies (as sales or rentals or leases)

24 to movie theaters, motion pictures are often also reproduced by movie studios (e.g.,
25 Defendant Universal) onto Digital Video Discs (“DVDs”), which are typically
26 comprised of layers of aluminum and reflective gold covered in a polycarbonate plastic.
                                                 6
27                              SECOND AMENDED CLASS ACTION COMPLAINT
                                                                          2:22-cv-00459-SVW-AGR
28
 Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 8 of 59 Page ID #:332




 1 The metal and plastic disc is packaged in a plastic case, often with additional cardboard
 2 packaging, and the entire physical DVD package (often shrink-wrapped) is then sold to
 3 movie consumers either in brick and mortar stores or through electronic commerce
 4 channels, such as directly from Defendant at www.uphe.com. When a movie consumer
 5 purchases a DVD, the movie consumer receives ownership rights not only in the DVD
 6 itself, but also receives the irrevocable right to re-sell or even rent the movie content
 7 (including the imagery and sound) to other consumers, under the First Sale doctrine. In
 8 other words, a purchaser of a DVD effectively receives fee simple title to the movie
 9 content itself. Defendant Universal has sold at least tens of thousands of DVD copies of
10 the movie Yesterday to consumers, with one e-commerce channel alone revealing more
11 than 30,000 sales. These sales are in addition to Defendant Universal’s DVD sales
12 and/or sales to view the operation of a physical film or digital motion picture package
13 at a movie theater.
14       22. In yet another commercialization channel for movie studios, it is now

15 common for movie studios to sell or rent movies to consumers by transmitting the
16 movies directly to consumer homes. For example, many televisions are now sold with
17 movie play platforms such as Amazon Prime or VUDU preinstalled. Alternatively, as
18 another example, plug-in devices (which include such platforms) are sold to consumers
19 for plugging into physical slots in a television (e.g., into an HDMI port). Using such
20 movie play platforms, a consumer can review trailer advertisements on their own
21 television to find an appealing movie to watch. Once an appealing movie is identified,
22 the consumer typically has the option to rent or purchase the movie. Regardless of which
23 option is selected, once the “offer” of the movie presented by the movie play platform
24 (i.e., on behalf of the movie distributor, in this case Defendant Universal) is accepted,
25 and after the consumer pays for the rental or purchase, the movie data files are
26 transmitted from the physical storage device where the original motion picture (or copy
                                                 7
27                              SECOND AMENDED CLASS ACTION COMPLAINT
                                                                         2:22-cv-00459-SVW-AGR
28
 Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 9 of 59 Page ID #:333




 1 thereof) is being stored on the consumer’s television (or externally connected device )
 2 – at least for a period of time – so that the tangible movie imagery (displayed as visible
 3 light) and sound can be played for the consumer in the consumer’s home. In the most
 4 typical scenario, such as is the case with the trailer for the movie Yesterday, the
 5 opportunity to purchase or rent the movie is displayed alongside the trailer - on the same
 6 screen – so that the consumer can make an immediate decision to purchase or rent the
 7 movie (or not), without consulting other sources. In cases in which the movie is sold to
 8 a consumer or is purchased by a consumer, the consumer is able to re-watch the movie
 9 effectively in perpetuity and is even able to transfer the movie to different physical
10 devices. For example, if a movie is purchased from a digital movie store on a television
11 in a home in California, the movie can nevertheless be transmitted (in other words
12 moved) to a different physical device (e.g., a television, tablet, mobile phone, USB
13 dongle, etc.) so that the movie can be watched at a different location, such as at a second
14 home, or in a hotel, or on an airplane. As an example, digital movie seller VUDU’s
15 legacy set-top boxes (so-called VUDU boxes) are physical boxes connectable to a
16 television and onto which purchased movies could be downloaded. The box containing
17 the purchased movies could be moved to other physical locations and attached to
18 different physical viewing devices. Moreover, VUDU provided express written
19 warranties with VUDU boxes which guaranteed that VUDU would replace any
20 purchased movies which were lost. According to one version of such warranty as an
21 example: “If VUDU has to repair or replace your VUDU Equipment, or if content is lost
22 due to a failure of the hard drive in the VUDU Equipment, VUDU will, to the best of its
23 ability and within the rights granted to it by its content licensors, replace all purchased (but
24 not rented) movies or other purchased (but not rented) entertainment content that you
25 acquired from VUDU[.]” Subequent to the legacy set-top boxes, VUDU began including
26 its VUDU digital movie store platforms pre-loaded onto other physical and moveable
                                                   8
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                              2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 10 of 59 Page ID #:334




 1 devices, such as Blue-ray players, televisions (e.g., Amazon Fire TV Edition smart TVs),
 2 and portable movie storage and player devices such as those offered under the brand Roku.
 3 Indeed, according to VUDU, “Vudu is also the official movie and TV store on Roku, the
 4 world’s leading streaming device and Smart TV OS platform.” Other digital movies stores,
 5 such as Prime Video offered by Amazon.com, offer the same or similar features and
 6 options, with many moveable physical movie storage and delivery device offerings,
 7 including for example Amazon Fire Tablets. Likewise, a movie can be downloaded from a
 8 digital movie store such as Prime Video, onto a tablet for example, and then brought onto
 9 an airplane (in other words “moved”) to be watched with no access to the internet.
10        23. By way of example specific to this case, a screen shot of NBCUniversal’s

11 VUDU movie platform offering the Yesterday movie for sale and for rent is reproduced
12 below:
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                                                 9
27                              SECOND AMENDED CLASS ACTION COMPLAINT
                                                                         2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 11 of 59 Page ID #:335




 1        24.    The screenshot above is a true and accurate copy of VUDU’s offer of sale

 2 or rent of the movie Yesterday (last accessed May 2, 2022).
 3       25. As shown in the above screenshot, VUDU offers a selectable “button” for

 4 acccessing the Yesterday movie trailer advertisement, which falsely advertises the
 5 Yesterday movie, on the same page and preceding the opportunities to purchase or rent the
 6 movie. This is because digital movie stores, such as VUDU, which is co-owned with
 7 Defendant by NBCUniversal, intend for the trailer to be relied upon by consumers when
 8 making movie rental or purchase decisions. Because Defendant is co-owned with VUDU,
 9 VUDU acts in concert with and under the direction of Defendant for the promotion of the
10 movie Yesterday, and Defendant and/or its parent entities profit(s) from Yesterday’s movie
11 sales and rentals consummated on the VUDU movie platform.
12        26.    As shown in the screenshot, the VUDU platform, which is co-owned with

13 Defendant, also affirmatively represents that Ana De Armas is in the movie Yesterday,
14 by listing her name and including her photograph as a cast member, even though she is
15 not.
16        27.    Some movie platforms, such as VUDU’s, also allow consumers to conduct

17 key word search for movies. For example, if a consumer likes Ana De Armas as an
18 actress, the consumer can type her name into a search field in the VUDU platform, and
19 the platform will display the movies in which Ana De Armas purportedly appears.
20        28. The screenshot below is a true and accurate copy of a screen print from

21 VUDU’s movie play platform displaying the results of a search performed using the
22 actress Ana De Armas’ name (last accessed May 2, 2022):
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                                                 10
27                              SECOND AMENDED CLASS ACTION COMPLAINT
                                                                         2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 12 of 59 Page ID #:336




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13
           29.    As can be seen in the screenshot above (displaying the search results), the
14
     VUDU platform lists Ana De Armas as an actress that appears in the movie Yesterday,
15
     even though she does not. In other words, the search results of a VUDU search for Ana De
16
     Armas affirmatively, falsely represent that Ana De Armas is in the movie Yesterday.
17
           30.    On a platform such as this, when consumers are induced to pay for Yesterday
18
     movie rentals or purchases on the VUDU movie platform because they believe Ana De
19
     Armas appears in the movie, because she is listed as an actress in the movie, and because
20
     the trailer represents that she is in the movie, both Defendant and co-owned VUDU (and
21
     therefore Defendant’s parent entity or entities) profit from this deception.
22
           31.    Similar to VUDU, the Amazon Prime movie play platform also displays the
23
     Yesterday movie trailer on the same page as opportunities to purchase or rent the movie.
24
     This is so that consumers can be enticed by the trailer to make immediate movie rental and
25
     purchase decisions. Also similar to VUDU, Defendant shares in the profits made by
26
                                                   11
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                              2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 13 of 59 Page ID #:337




 1 Amazon Prime when the movie Yesterday is rented or purchased by a consumer.
 2 Additionally, when the movie Yesterday is rented on Amazon Prime, the agreement offered
 3 by the platform on behalf of Defendant and accepted by the consumer under false pretenses,
 4 makes the movie accessible to the consumer for 30 days.
 5
 6 The Actress Ana De Armas
 7
          32. Ana De Armas (hereinafter Ms. De Armas) is a talented, successful, and
 8
   famous actress, that has starred in such movies as Blade Runner 2049, War Dogs, and
 9
   Knives Out.
10
          33. Demonstrating her demand in the film industry, Ms. De Armas was chosen to
11
   be a female lead in the movie No Time to Die, co-starring Daniel Craig. No Time to Die
12
   debuted on or about October 8, 2021 and is the latest film in the James Bond franchise. No
13
   Time to Die is an important movie for its studio because it is the last James Bond film
14
   expected to feature Actor Daniel Craig.
15
          34. Ms. De Armas was also recently selected to star in the upcoming film Blonde,
16
   playing the role of deceased movie star Marilyn Monroe. She was also selected to star in
17
   the recently released movie Deep Water, co-starring her former boyfriend Ben Affleck
18
   (hereinafter Mr. Affleck).
19
          35. Ms. De Armas’ 2015 movie Knock Knock, co-starring Keanu Reeves, was
20
   identified by Netflix as one of its most popular movies. Indeed, Knock Knock achieved the
21
   status of the “most-watched” movie on Netflix’s streaming service during 2020.
22
          36. Ms. De Armas currently has approximately 6.8 million followers on
23
   Instagram.
24
          37. In 2020, Ms. De Armas was the Golden Globe Nominee for Best Actress in a
25
   Comedy or Musical for her performance in the movie Knives Out.
26
                                                 12
27                              SECOND AMENDED CLASS ACTION COMPLAINT
                                                                         2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 14 of 59 Page ID #:338




 1         38.   Ms. De Armas is famous throughout America and the world because of her

 2 successful movie and other media appearances.
 3 Yesterday and its Trailer
 4
           39. The movie Yesterday started filming in April 2018, premiered at the Tribeca
 5
   Film Festival on May 4, 2019, and was released in the United States on June 28, 2019 by
 6
   Universal Pictures. Yesterday is a film about a failed musician Jack Malik, who hits his
 7
   head during a black-out only to wake-up to discover that that the world’s knowledge of
 8
   The Beatles has been erased. Taking advantage of this opportunity, the protagonist Malik
 9
   adopts The Beatles’ songs as his own, quickly becoming world famous.
10
           40. Ms. De Armas was originally cast to co-star in the film Yesterday as a
11
   character named Roxanne. Accordingly, scenes featuring Ms. De Armas as the character
12
   Roxanne were shot for inclusion in the original version of the movie. In the original version
13
   of the movie, the character, Roxanne, was written as a known actress that meets the
14
   protagonist Malik during a late night talk show appearance. During the talk show
15
   appearance, the host first suggests that Malik write a song about Roxanne. Immediately
16
   revising his song writing request, the talk show host subsequently tells Malik to write a
17
   song about “something.” Malik – in reply – plays the The Beatles’ song Something seated
18
   next to and gazing at Roxanne. As the scene appears in the movie trailer for Yesterday, a
19
   romantic attraction is immediately sparked between the two characters. Roxanne, in the
20
   scene, appears charmed by Malik’s perceived song writing talent and they ultimately
21
   embrace. The film’s female lead Ellie, played by the relative unknown actress Lily James,
22
   witnesses the meeting on television from home. In the scene as it appears in the Yesterday
23
   movie trailer, Ellie is visibly upset that she might lose Malik to Roxanne. Dialogue in the
24
   trailer also suggests that Ellie is concerned that Malik is distracted by his newfound fame
25
26
                                                  13
27                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                            2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 15 of 59 Page ID #:339




 1 and glamor of actress Roxanne. Ellie, herself, does not portray a famous or glamorous
 2 character in the film, but is simply Malik’s longtime, hometown friend.
 3         41.   According to the director Danny Boyle, Ms. De Armas’ portrayal of Roxanne

 4 in the original film cut was “brilliant” and Ms. De Armas was “radiant” in the role. More
 5 specifically, according to the film’s director:
 6               “When you watched [the scene with Ms. De Armas] alone, it was
                 fantastic[.]”
 7
 8               “[S]he was brilliant in it. I mean really radiant.”

 9               “[I]t’s some of our favorite scenes from the film[.]” (sic)
10         42.   Director Boyle expressed similar flattering views pertaining to character Jack
11 Malik’s response to the request to play “something” in the same scene featuring Ms. De
12 Armas. According to Boyle:
13               “Actually, we cut one of my favorite jokes from the film, which
14               my son thought of. Because James Corden used to say, ‘Why
15               don’t you write something right now? I hear you can write things
16               really quickly, write something right now.’ And so he wrote
17               ‘Something.’ [Jack] actually sang the song ‘Something,’ and I
18               was so delighted by that joke.”
19
           43.   The principal actors in the movie Yesterday were largely unknown before the
20
     film was released. For example, the actor which played protagonist Malik, Himesh Patel,
21
     had never acted or starred in a film prior to Yesterday. Similarly, the actress who played
22
     Ellie, Lily James, was a relatively unknown name to the casual movie watcher.
23
           44.   Consequently, because none of the Yesterday film leads were famous,
24
     Defendant could not rely on their fame to promote the movie to entice viewership.
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27                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                               2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 16 of 59 Page ID #:340




 1         45.   In contrast to the film’s lead actors, Ms. De Armas is and was a known movie

 2 star. Moreover, according to the director of the film, she was “radiant” and “brilliant” in
 3 the movie scenes originally shot for the film.
 4         46.   Unable to rely on fame of the actors playing Jack Malik or Ellie to maximize

 5 ticket and movie sales and rentals, Defendant consequently used Ms. De Armas’ fame,
 6 radiance and brilliance to promote the film by including her scenes in the movie trailers
 7 advertising Yesterday. Ms. De Armas, in contrast to the actors playing Jack Malik or Ellie,
 8 is famous and is a viewership draw by herself. Moreover, the Ms. De Armas scene which
 9 Defendant included in the trailer was described by director Boyle as fantastic. Accordingly,
10 the inclusion of such a fantastic scene would be expected to entice viewership and thereby
11 boost movie sales and rentals.
12       47. Although Defendant included the scenes with Ms. De Armas in the movie

13 trailer advertisements, for the purposes of promoting Yesterday and enticing film sales and
14 rentals, Ms. De Armas is not and was never in the publicly released version of the movie.
15 Therefore, any consumer that purchased theater tickets or rented or purchased the film
16 Yesterday online did not see Ms. De Armas in the film.
17         48.   Adding to its deceptiveness, the trailer for Yesterday also included the

18 “something”-song-joke, which director Boyle described as one of his “favorites” and which
19 he explained “delighted” him. In that scene, the character Malik plays The Beatles’ song
20 “Something” as a punchline to the comedic set-up of the scene. Notably the song
21 “Something” is also demonstrably famous. From the Beatles’ 1969 album Abbey Road,
22 “Something” was written by George Harrison and topped the Billboard Hot 100 in the
23 United States, as well as charts in Australia, Canada, New Zealand and West Germany.
24 Still popular today, one upload of the song alone has achieved over 72 million views on
25 YouTube. Although in the movie trailer which advertises and promotes Yesterday, the
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27                               SECOND AMENDED CLASS ACTION COMPLAINT
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28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 17 of 59 Page ID #:341




 1 scene with the “something”-song-joke, in which Malik plays The Beatles’ song
 2 “Something”, is not in the publicly released version of the film.
 3         49.   Defendants’ false representations that an actress, song, and other scene

 4 elements would appear in the film Yesterday, when they did not, collectively comprise a
 5 false, deceptive, deceitful, fraudulent, unfair, and misleading movie trailer advertisement.
 6 It is believed to be unprecendented, for example, for a movie trailer to feature an actor or
 7 actress which does not actually appear in the movie being advertised. Certain versions of
 8 the trailer for Yesterday also call the trailer a “preview” thereby expressly representing
 9 textually that the trailer is showing scenes that will be in the actual movie. For these and
10 other reasons, by including Ana De Armas and the omitted scenes in the trailer, consumers
11 perceive her and their inclusion as an affirmative representation that Ms. De Armas and the
12 omitted scenes will appear in the full length movie. Demonstrating their commercial
13 purpose, one or more versions of the Yesterday trailer also include the words “Coming
14 Soon” and list the date of release of the movie, stating “In theaters June 28”, so that
15 consumers knew precisely when they could buy tickets to the movie. Similar language is
16 listed on the landing page for Yesterday’s trailer published on Youtube. Likewise, at least
17 one version of the Yesterday trailer includes a weblink at the end, which directs viewers of
18 the trailer to a webpage where they can purchase the movie (e.g., on DVD).
19        50. Evincing Defendant’s intent to deceive consumers (the term “consumers”

20 including Plaintiffs and Class members), interviews show that Defendant knows and has
21 always known that Ms. De Armas is and was not in the publicly released film Yesterday.
22         51.   Also evincing Defendant’s intent to deceive consumers, interviews show that

23 Defendant knows and has always known that the “something”-song-joke, in which Malik
24 plays The Beatles’ song “Something”, is and was not in the publicly released film
25 Yesterday. Although these interviews reveal Defendant’s knowledge of its deception,
26 neither Plaintiff Rosza or Plaintiff Woulfe viewed these interviews, including the interview
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27                               SECOND AMENDED CLASS ACTION COMPLAINT
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28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 18 of 59 Page ID #:342




 1 filed by Defendant as Doc. 32-4, PID 303-307. Moreover, the interviews appear to be little
 2 known and seen in general. For example, one of the two known interviews – a video - was
 3 only viewed approximately 1439 times between 2019 and present (last accessed June 6,
 4 2022), and it is unknown when those views happened. Further, though the video interview
 5 reveals that Defendant knew that Ana De Armas was cut, she was not mentioned by name.
 6       52. Despite knowing that Ms. De Armas was not in the released version of the

 7 movie Yesterday, Defendant has consistently promoted Ms. De Armas as a character
 8 starring in the film, by including her scenes in Yesterday’s movie trailers, listing her as a
 9 cast member, and key word linking her name to the movie. Indeed, Defendant continues to
10 promote Ms. De Armas as appearing in the film more than two years after its initial release,
11 in advertisements for movie sales and rentals. More specifically, the film Yesterday
12 premiered on or about May 4, 2019, but movie trailers featured in May of 2022 still include
13 the scenes with Ms. De Armas and the “something”-song joke. These movie trailers are
14 viewable, prior to purchasing or renting the movie Yesterday, from digital movie stores
15 (also known as electronic streaming services), including, but not limited to, Amazon (via
16 Amazon Prime), Google (via Google Play), and VUDU. These same trailers were also
17 used to advertise the movie Yesterday prior to its theatrical release, including on
18 Defendant’s own website, which also offered movie tickets for sale.
19         53.   Similarly, on or about June 25, 2019 in a post-release national television

20 appearance promoting the film Yesterday, director Boyle was interviewed alongside actor
21 Himesh Patel (who plays Jack Malik) on CBS television. Although Ms. De Armas is not
22 in the film, the scene featuring Ms. De Armas was played during Boyle’s television
23 appearance to a national television audience, for the specific purpose of enticing viewers
24 to buy tickets to see the motion picture. A true and accurate screen capture from the
25 television appearance is reproduced below:
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27                               SECOND AMENDED CLASS ACTION COMPLAINT
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28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 19 of 59 Page ID #:343




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11 Ms. De Armas is the actress in the white outfit depicted in the above image. Despite using
12 Ms. De Armas to promote the film, interviews reveal that Defendant and director Danny
13 Boyle and screenwriter Richard Curtis knew that Ms. De Armas would not be in the
14 publicly released version of the film at least as early as June 19, 2019.
15        54.    Even though Ms. De Armas would never be in the film to entertain its viewers,
16 Defendant played this scene on national television because Defendant knew it would lure
17 viewers, sales, and movie rentals, because it was a “fantastic” scene in which Ms. De
18 Armas was “radiant” and “brilliant.” Moreover, when this scene was featured on national
19 television, the movie Yesterday had already been released to the public. Accordingly,
20 Defendant already knew that Ms. De Armas would not and did not appear in the final
21 version of the film.
22        55.    Movie trailers are the de facto standard for advertising movies (or films) in
23 the United States.
24       56. Movie trailers are understood by movie viewers and consumers to convey
25 what actors will appear in the advertised film.
26
                                                  18
27                               SECOND AMENDED CLASS ACTION COMPLAINT
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28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 20 of 59 Page ID #:344




 1        57.    Defendant’s Yesterday movie trailers were used by Defendant as

 2 advertisements for the film, for the express commercial purpose of enticing consumers to
 3 purchase or rent the movie.
 4        58.    Defendant’s Yesterday movie trailers were used by Defendant as the primary

 5 advertisements for the film and were disseminated widely, and viewed by tens of millions
 6 of consumers.
 7        59.    Defendant knew and indeed intended that consumers would rely on the

 8 content of the Yesterday movie trailers when making decisions whether to pay for
 9 purchasing or viewing the film. Likewise, Defendant believed that Ana De Armas and her
10 scenes were “brilliant” and “radiant” and that consumers would be enticed by her
11 appearance and scenes to pay for the movie.
12        60.    Defendant creates, distributes, and publishes its movie trailers, including the

13 movie trailer for Yesterday, for the purpose of enticing consumers to pay for purchasing or
14 viewing Defendant’s films, including the film Yesterday.
15        61.    Defendant expected that consumers would rely on the content of the Yesterday

16 movie trailers when making decisions whether to pay for purchasing or viewing the film.
17      62. Defendant’s Yesterday movie trailers, aired or accessible during 2019,

18 included scenes with Ana De Armas.
19       63. Defendant’s Yesterday movie trailers, aired or accessible during 2020,

20 included scenes with Ana De Armas.
21       64. Defendant’s Yesterday movie trailers, aired or accessible during 2021,

22 included scenes with Ana De Armas.
23       65. Defendant’s Yesterday movie trailers, aired or accessible during 2022,

24 included scenes with Ana De Armas.
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27                               SECOND AMENDED CLASS ACTION COMPLAINT
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28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 21 of 59 Page ID #:345




 1         66.   On online movie streaming services such as Amazon.com’s Amazon Prime,

 2 or NBCUniversal’s VUDU, Defendant uses the Yesterday movie trailer with Ana De
 3 Armas to convince consumers to purchase or rent the movie Yesterday.
 4         67.   After watching the movie trailer for Yesterday on Amazon Prime, or on other

 5 digital movie stores such as NBCUniversal’s VUDU, and other online movie streaming
 6 services, consumers are able to purchase or rent the movie Yesterday on the same user
 7 interface.
 8        68.    Defendant’s movie trailers for Yesterday are accessible on the same display

 9 screen, such as a television screen, as the point-of-purchase or rental opportunity for
10 purchasing or renting the movie Yesterday.
11         69.   Online streaming services such as Amazon Prime, or other digital movie

12 stores such as NBCUniversal’s VUDU, are designed to include movie trailers on the same
13 screen, such as a television screen, as the point-of-purchase or rental opportunity for
14 purchasing or renting the movie featured in the trailer, so that consumers can make instant
15 decisions to purchase or rent a movie, without consulting other sources.
16         70.   Movie consumers typically make decisions to view, purchase, or rent a movie

17 – or not - based on the content of movie trailers viewed by such consumers.
18       71. The decision to purchase or rent a movie is binary. A consumer either rents or

19 purchases a movie, or not. A movie trailer is the advertising vehicle which Defendant uses
20 to persuade movie consumers, when such consumers are making such binary movie
21 purchase or rental decisions.
22       72. Defendant’s inclusion of Ana De Armas in Yesterday movie trailers leads

23 viewers to believe that Ana De Armas is in the film.
24       73. Defendant used movie trailers, which included scenes with Ana De Armas, to

25 promote the theatrical release of the film Yesterday and to promote DVD sales of
26 Yesterday, including direct sales of DVDs by Defendant to consumers. For example, in
                                                  20
27                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                          2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 22 of 59 Page ID #:346




 1 addition to the conventional use of the trailer as a commercial advertisement, Defendant
 2 included a website link at the end of the Yesterday trailer so that consumers could buy
 3 physical copies of the movie.
 4       74. Defendant used movie trailers, which included scenes with Ana De Armas, to

 5 promote online movie sales and rentals of the film Yesterday.
 6      75. Ana De Armas does not appear in Defendant’s publicly released 2019 movie

 7 Yesterday.
 8       76. Ana De Armas does not appear in the version of Defendant’s publicly released

 9 movie Yesterday which has been sold and rented to consumers, and exhibited at pay-for-
10 view movie theaters, during the years 2019, 2020, 2021, and 2022.
11         77.   Ana De Armas does not appear in any publicly released version of

12 Defendant’s publicly released movie Yesterday
13      78. All of Defendant’s theatrical presentations, sales, rentals, and licenses, of the

14 movie Yesterday injure consumers in the same way because the film sold, rented, and
15 licensed is the same, regardless of medium, and does not include Ana De Armas and does
16 not include the “something”-song-joke, in which Malik plays The Beatles’ song
17 “Something”. Moreover, the commercial impression communicated by Defendant’s
18 promotion and advertisement of the movie is the same – that Ana De Armas, and the other
19 omitted scenes, will appear in the full length movie.
20         79.   Defendant had sufficient control and authority to determine whether Ana De

21 Armas would appear in the Yesterday movie trailer. Defendant also had sufficient control
22 and authority to obtain or create and utilize a new Yesterday trailer which was not false and
23 misleading.
24       80. Defendant chose to continue to utilize Yesterday movie trailers featuring Ana

25 De Armas as advertisements, even though Defendant knew that Ana De Armas was not in
26 the film Yesterday.
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27                               SECOND AMENDED CLASS ACTION COMPLAINT
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28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 23 of 59 Page ID #:347




 1        81.   Defendant’s trailer for the movie Yesterday is used to advertise the movie to

 2 solicit purchases and rentals of the movie from online movie services such as Amazon
 3 Prime, Google Play, and VUDU. Defendants’ Yesterday trailer, used on such services to
 4 advertise the movie, includes scenes with Ana De Armas.
 5       82. The following images are true and accurate screen shots from Defendant’s

 6 movie trailer for Yesterday:
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28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 24 of 59 Page ID #:348




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27                           SECOND AMENDED CLASS ACTION COMPLAINT
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28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 25 of 59 Page ID #:349




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27                           SECOND AMENDED CLASS ACTION COMPLAINT
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28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 26 of 59 Page ID #:350




 1
 2 Actress Ana De Armas is the actress wearing a white outfit in the above images.
 3         83.   Defendant’s official trailer for the movie Yesterday was also published by
 4 Defendant on YouTube and has been viewed more than 32.6 million times on YouTube
 5 since February 12, 2019. The number 32.6 million meets or exceeds the number of viewers
 6 of the movie Yesterday that paid to view it or purchased it.
 7        84. Relying on false, deceptive, and misleading advertisements for its promotion,
 8 Defendant’s movie Yesterday has thus far grossed approximately $150,000,000 (one-
 9 hundred fifty million) United States dollars.
10         85.   The version of the movie trailer offered on the Amazon Prime platform which
11 was viewed by Plaintiffs Woulfe and Rosza, has since been replaced with an alternative
12 trailer. The replacement of the trailer on Amazon Prime evinces the ease with which
13 Defendant could have produced and utilized a different trailer, not featuring Ana De
14 Armas.
15         86.   NBC Universal’s VUDU platform, co-owned with Defendant, was
16 affirmatively advertising Ana De Armas as appearing in the movie Yesterday, which is for
17 sale and rent on the platform, at least as recently as May 3, 2022. Defendant controls the
18 content of Defendant’s movie advertising on the VUDU platform. Defendant’s continued
19 advertisement of Ana De Armas as appearing in the movie Yesterday, long after being put
20 on notice of its unlawful conduct with the filing and ultimate service of Plaintiffs’ original
21 complaint, demonstrates Defendant’s intent and willingness to deceive consumers.
22         87.   The Internet Movie Database (“IMDB”) originally listed Ana De Armas as an
23 actress in the movie Yesterday. Although the database has recently been changed to remove
24 Ana De Armas’ name as an actress in the movie, if consumers were to have consulted the
25 original database beyond viewing Defendant Universal’s advertising trailer, such
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27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 27 of 59 Page ID #:351




 1 consumers would have been falsely informed that Ana De Armas appeared in the movie,
 2 even though she does not.
 3        88.      The movie trailers for Yesterday which featured Ana De Arma made an

 4 affirmative representation to consumers that she would appear in the movie. Indeed, some
 5 versions of the trailer display the word “preview” at the beginning which communicates to
 6 consumers that the trailer advertisement that they are viewing is an actual true and correct
 7 sample (i.e., a true preview) of the advertised movie. However, neither all of the scenes
 8 that appear in the trailer, nor Ana De Armas, appear in the actual motion picture.
 9        89. Evincing that the movie trailers for Yesterday which featured Ana De Armas

10 were interpreted as affirmative representations that Ana De Armas appeared in the motion
11 picture, voluminous comments on social media channels discuss consumers’ surprise and
12 confusion when she did not appear in the full movie. True and correct copies of these
13 consumer comments are reproduced below:
14              • Ironically, I went to see the movie because of this scene
15              • This scene was used to promote the movie then was NOT in the movie. I
16                couldn’t believe it. Hope they put it back in someday.
17
                • Me too! The movie was not as good as I thought it would be and I was really
18
                  looking forward to this scene.
19
20              • Yeahh, this was one of the scene that i've been waiting for when i watch the
                  movie
21
22              • Same. Movie was meh. This scene would have improved it.

23              • same....i just wait and wait but what...where's the scene????
24
                • So did most people... worst edit ever
25
26              • Yes! That cheating coming attraction! I was so damn disappointed 😿
                                                    26
27                                 SECOND AMENDED CLASS ACTION COMPLAINT
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28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 28 of 59 Page ID #:352




 1
 2                • They did me dirty
 3
            90.     Defendant’s use of trailer advertisements to entice consumers to attend theater
 4
     presentations or to rent or buy the movie Yesterday (in electronic or DVD form) was purely
 5
     for commercial purposes. Defendant did not write the script for the movie but merely
 6
     acquired rights to the movie and created trailer advertisements, using omitted scene
 7
     elements and an actress not in the actual movie Yesterday, to pitch the movie to consumers.
 8
     Specifically, Defendant used Ana De Armas and the omitted scene elements to make the
 9
     movie Yesterday appear more appealing than it actually was. In other words, Defendant
10
     used the trailers in a purely commercial marketing campaign to trick viewers into renting
11
     or purchasing the motion picture.
12
            91.     In another example evincing Universal’s commercial purpose, Defendant’s
13
     website offered movie tickets for the movie Yesterday on the same page that it displayed
14
     the movie trailer advertisement for Yesterday. More specifically, tickets could be purchased
15
     on Defendant’s website using the co-owned Fandango movie ticket sales platform.
16
     Defendant and/or its parent entity/entities profited when movie tickets were purchased
17
     using the purchase link located alongside the movie trailer advertisement on Defendant’s
18
     website, providing motivation for Defendant’s deceptions.
19
            92.     When not offering movie rentals or sales on its own website, Defendant
20
     intends and directs that its movie trailers – including the movie trailer for Yesterday - be
21
     shown alongside opportunities for movie rentals or purchases so that consumers will make
22
     their purchase or rental decisions, in reliance on the content of the movie trailer
23
     advertisement. Likewise, at least one version of the Yesterday trailer directs consumers to
24
     a webpage operated by Defendant, which offers (or offered) DVDs of the Yesterday movie
25
     for sale.
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27                                  SECOND AMENDED CLASS ACTION COMPLAINT
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28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 29 of 59 Page ID #:353




 1         93.   Further demonstrating the movie trailers are advertisements having a

 2 commercial purpose, the Motion Picture Association, Inc. (formerly the “MPAA"), of
 3 which Defendant Universal is a member, published Advertising Administration Rules
 4 which include a definition section. According to the first section, Section 1: Definition of
 5 Advertising:
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12
     Exhibit A is a true and correct copy of page 3 of the Motion Picture Association, Inc.’s
13
     Advertising Administration Rules, published on and effective October 8, 2019.
14
     Demonstrating that movie trailers are not supposed to be false or misleading, the MPA
15
     Administration Rules also state, “Certain content restrictions are applicable to all
16
     advertising. In all instances: Advertising may not misrepresent the content of the motion
17
     picture[.]" In other words, Defendant’s advertisements for Yesterday violate even the
18
     standards set forth by its own member organization.
19
20         94.   Defendant’s commercial advertising expenditures are reported to the
21 Securities and Exchange Commission (“SEC”) via its parent entities. These advertising
22 expenditures include trailer production and promotion costs.
23         95.   Similarly, the Federal Trade Commission (“FTC”), U.S. Congress, and
24 members of representative American movie studios consider trailers to be commercial
25 advertising, such as evidenced by the FTC reports to Congress, and resulting Congressional
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27                               SECOND AMENDED CLASS ACTION COMPLAINT
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28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 30 of 59 Page ID #:354




 1 testimony, pertaining to the movie studios’ alleged marketing of adult entertainment to
 2 children, using movie trailers. Many if not all of the major movie studios, including
 3 Defendant Universal, testified in the Congressional hearings, and consistently
 4 acknowledged the commercial purpose of trailers as advertisements.
 5         96.   In all cases known to plaintiffs, the movie theater presentations of the movie

 6 Yesterday, the DVD copies of the movie Yesterday, and the at-home purchases and rentals
 7 of the movie Yesterday all omitted scenes that appeared in the Yesterday movie trailer
 8 advertisement, including the scenes that featured the actress Ana De Armas. Accordingly,
 9 all consumers were harmed in the same way by the same false, misleading, unfair,
10 fraudulent, and deceptive movie trailer advertisements.
11 Goods and Services
12
          97. Defendant Universal’s movie products are goods and/or are offered to
13
   customers utilizing various types of services. For example, the movie Yesterday exists in
14
   physical film or digital form which is utilized in connection with movie display services
15
   which are sold to consumers. Moreover, the physical DVD discs which Universal sells are
16
   goods. More specifically, the digital streaming of Defendant’s movies is offered as a
17
   service, both by Defendant’s affiliated entity VUDU, and by third parties acting on behalf
18
   of Defendant. Illustratively, VUDU (co-owned with Defendant by NBCUniversal) itself
19
   ubiquitously categorizes its offerings as a “service”. According to a 2021 VUDU press
20
   release as but one example: “Vudu is a leading video-on-demand streaming service from
21
   Fandango offering over 150,000 titles to rent or buy, including the newest releases, and
22
   thousands of titles for free. Serving millions of entertainment fans daily, Vudu has created
23
   compelling video entertainment experiences, including the ability to create custom Lists
24
   from their movies & TV library, purchase exclusive Mix & Match bundles, access digital
25
   copies of their physical films, and much more. Consumers can watch the latest movies &
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27                               SECOND AMENDED CLASS ACTION COMPLAINT
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28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 31 of 59 Page ID #:355




 1 TV shows anytime, anywhere, on their favorite smart TV, over-the-top (OTT) streaming
 2 player, Android and iOS device, game console, and Blu-ray player. Streaming or
 3 downloaded, Vudu delivers a premium experience with the latest digital video technology,
 4 including 4K Ultra High Definition, Dolby Vision, HDR, and Dolby Atmos Cinema
 5 Sound.” Not merely just streaming movies like Yesterday, VUDU informs of the purported
 6 cast of the movie, and provides a trailer advertisement so a customer can make a purchase
 7 decision without leaving the platform. If a movie is purchased, VUDU detects a consumer’s
 8 internet speeds and adjusts the resolution of the movie delivered to the consumer in real-
 9 time to attempt to ensure glitch free movie watching. Vudu also provides a “Movie
10 Recommendation Decision Engine” and supplies third-party movie reviews to aid
11 consumers in selecting movies to purchase. Also, according to VUDU, “One of the features
12 of [VUDU’s] Services is that we may customize your user experience based on your
13 Content, webpage and other viewing, purchasing and browsing history. You may notice
14 this when you use the Services.” Supporting all of these services, VUDU employs
15 Technical Support and Customer Support teams to aid customers which experience
16 technical issues purchasing or watching a movie (e.g., such as if sound is not playing with
17 the display of a movie). As another facet of its services, VUDU permits movies to be
18 downloaded to various types of physical devices, so that the movies can be viewed at
19 various locations, such as where internet access is not available. According to VUDU’s
20 summary of this feature:
21
          “Summary
22        The Movie Download feature allows you to download a movie to the hard disk drive built into your
          VUDU device. Once downloaded, you can then watch the movie directly from the hard disk, without
23        having to stream it over the Internet.

24        Downloading a Movie
          You may download a movie immediately after purchasing it or at any time after you have purchased it.
25
26        Purchasing and Downloading
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27                                   SECOND AMENDED CLASS ACTION COMPLAINT
                                                                                        2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 32 of 59 Page ID #:356




       In order to purchase a movie and begin downloading it immediately, please follow these steps:
 1
 2             1) Select “Buy Movie” from the Movie Details page

 3             2) Select the movie video quality (SD, HD and HDX) that you would like to own. The download
               feature
 4
           is only available for movies that you select to “own” on VUDU.
 5
 6             3) Once you purchase the movie, you will be presented with several options, select “Download and

 7         Watch Later”. Your movie will begin downloading.”

 8 Amazon’s Prime Video service, the service used by Plaintiff’s Woulfe and Rosza, is
 9 similar to VUDU’s service in that it provides many (if not all) of the same or similar
10 features. For example, Prime Video provide descriptions and trailer advertisements for
11 movies, provides movie ratings, actively adjusts movie resolutions during playback,
12 suggests movies to watch, includes parental controls, organizes movie watch parties,
13 provides scene information during movie play with its “X-Ray” service, allows
14 downloads to physical devices so that movies can be moved to watch at different
15 locations, and provides customer service and technical support. Using either service, if a
16 movie is purchased, it can be watched in perpetuity at different physical locations on
17 various physical devices which can be transported geographically, carrying the movie
18 inside. Using Prime Video, if a movie is rented, it is placed into a “My Stuff” folder on a
19 physical device of a consumer where it is accessible for 30 days from the date of
20 payment, with VUDU offering similar 30 day movie rental access.
21
          98. By way of additional example, Defendant and its affiliated entities have
22
   applied for and obtained U.S trademark registrations from the United States Patent and
23
   Trademark Office (“USPTO”) both for movies themselves and for supplying in-home
24
   consumers with movies, such as via in-home movie streaming services (also known as
25
   digital movie stores). For example, VUDU was granted a trademark for the mark “VUDU”
26
                                                         31
27                                    SECOND AMENDED CLASS ACTION COMPLAINT
                                                                                         2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 33 of 59 Page ID #:357




 1 for its digital movie store services, with the mark itself categorized by the USPTO as a
 2 “Service Mark.” The services for which the registration was granted are as follows:
 3
 4        providing consumer information used in the selection and purchase of audio and

 5        video content, namely, retail ordering services in the field of motion pictures and

 6        multi-media excluding interactive games.

 7
 8        audio and video broadcasting services, broadcasting audio and video content over

 9        global computer networks, video-on-demand transmission services, pay-per-view

10        video and audio transmission services.

11
12        providing information in the area of audio and video programming, namely,

13        electronic distribution of motion pictures and multi-media to retail consumers

14        excluding interactive games.

15
16        providing a website featuring temporary use of non-downloadable software

17        allowing website users to store and playback audio and video content for

18        entertainment purposes in the field of motion pictures and multi-media excluding

19        interactive games.

20
21 Amazon.com was granted a similar trademark registration for the mark “Prime Video”,
22 for similar services, which is also characterized by the USPTO as a “Service Mark.”
23        99.   The USPTO’s authority in issuing trademark registrations is limited to
24 “goods” and “services,” and the USPTO has approved of Defendant’s and/or its affliated
25
26
                                                 32
27                              SECOND AMENDED CLASS ACTION COMPLAINT
                                                                           2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 34 of 59 Page ID #:358




 1 entities’ goods and services for movies and in-home digital movie deliveries, as recited in
 2 their U.S. trademark applications.
 3         100. The state of California has adopted the classification system of the USPTO

 4 for goods and services. Consequently, the state of California also recognizes Defendant
 5 Universal’s movies and in-home movie deliveries as goods and/or services.
 6 Defendant’s False and Deceptive Advertising
 7
           101. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
 8
   paragraphs as though the same were fully set forth herein.
 9
           102. Defendant, through its movie trailers and other false advertising, such as it’s
10
   fraudulent cast listings on VUDU, key word linking of Ms. De Armas to Yesterday, and
11
   misleading commercial promotional appearances for Yesterday, has consistently conveyed
12
   to consumers throughout the United States that the movie Yesterday features actress Ana
13
   De Armas.
14
           103. Despite Defendant’s representations in its advertising, Ana De Armas is not
15
   in the film Yesterday.
16
           104. Defendant also deceived consumers by including the “something”-song-joke,
17
   and the performance of The Beatles’ song Something, in movie trailers promoting
18
   Yesterday.
19
           105. The “something”-song-joke, and the performance of The Beatles’ song
20
   Something, is not in the publicly released version of the movie Yesterday.
21
           106. Defendant’s movie trailer advertisements for the movie Yesterday, featuring
22
   Ana De Armas, are literally false advertisements.
23
           107. Defendant’s movie trailer advertisement of the movie Yesterday, featuring
24
   scene elements which were not included in the publicly released film, are collectively a
25
   literally false advertisement.
26
                                                   33
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 35 of 59 Page ID #:359




 1        108. Defendant’s movie trailer advertisements for the movie Yesterday, featuring

 2 Ana De Armas, are false, deceptive, deceitful, fraudulent, unfair, and misleading.
 3      109. Defendant’s movie trailer advertisement of the movie Yesterday, featuring

 4 scene elements which were not included in the publicly released film, are false, deceptive,
 5 deceitful, fraudulent, unfair, and misleading.
 6        110. Defendant’s advertisements on VUDU, which state that Ana De Armas is a

 7 cast member, and which list the movie Yesterday when searching for Ana De Armas’ name,
 8 are literally false advertisements.
 9        111. Defendant’s advertisements on VUDU, which state that Ana De Armas is a

10 cast member, and which list the movie Yesterday when searching for Ana De Armas’ name,
11 are false, deceptive, deceitful, fraudulent, unfair, and misleading.
12        112. Consumers, including movie viewers, purchasers, and renters of the movie

13 Yesterday, relied on the content of the trailer for the film, or the content of Defendant’s
14 advertisements, when deciding whether to spend money to view or purchase the film.
15        113. Because consumers were not provided with the movie product that they were

16 promised by Defendant, they were effectively provided with no value at all. Alternatively,
17 at best, Plaintiffs and the class members were provided with a movie product having less
18 value than the product they were advertised and promised.
19        114. Because consumers were promised a movie with Ana De Armas by

20 Defendant’s advertisements for Yesterday, but did not receive a movie with any appearance
21 of Ana De Armas at all, such consumers were not provided with any value for their rental
22 or purchase, or at best were provided with less value than promised.
23       115. Defendant’s false, deceptive, fraudulent, unfair,             and    misleading

24 advertisements have been disseminated to the public continuously since at least 2019, and
25 are still being disseminated in June of 2022, and Defendant will continue to deceive the
26
                                                  34
27                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                          2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 36 of 59 Page ID #:360




 1 public with such advertisements unless it is enjoined from continuing to engage in such
 2 unlawful conduct.
 3
 4                        CLASS DEFINITION AND ALLEGATIONS
 5
           116. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
 6
     paragraphs as though the same were fully set forth herein.
 7
           117. Plaintiffs, pursuant to Fed. R. Civ. Pro. 23(b)(2) and 23(b)(3), bring this
 8
     action on behalf of themselves and those similarly situated and seek certification of the
 9
     following classes:
10
11                                        California Class
12               All persons who purchased in the state of California any tickets
13               for theater viewership, or who rented or purchased physical or
                 electronic copies of the movie Yesterday within California, within
14               the applicable statute of limitations, for personal use until the
15               date notice is disseminated.
16
                                          Maryland Class
17
18               All persons who purchased in the state of Maryland any tickets
19               for theater viewership, or who rented or purchased physical or
                 electronic copies of the movie Yesterday within Maryland, within
20               the applicable statute of limitations, for personal use until the
21               date notice is disseminated.
22
23
           118. Excluded from each Class is Defendant, its parents, subsidiaries, affiliates,
24
     officers, and directors, those who viewed, purchased, or rented the movie Yesterday, all
25
26
                                                   35
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 37 of 59 Page ID #:361




 1 persons who make a timely election to be excluded from the Class, the judge to whom
 2 this case is assigned and any immediate family members thereof.
 3        119. Certification of Plaintiffs’ claims for class wide treatment is appropriate

 4 because Plaintiffs can prove the elements of their claims on a class wide basis using the
 5 same evidence as would be used to prove those elements in individual actions alleging
 6 the same claims.
 7 Numerosity – Federal Rule of Civil Procedure 23(a)(1)
 8
          120. The members of the Class are so numerous that individual joinder of all Class
 9
   members is impracticable. Defendant has sold at least hundreds of thousands of movie
10
   tickets, or online or physical movie rentals or purchases, to Class members.
11
12 Commonality and Predominance – Federal Rule of Civil Procedure 23(a)(2)
13 and 23(b)(3)
14        121. This action involves common questions of law and fact, which

15 predominate over any questions affecting individual Class members, including,
16 without limitation:
17               (a)   Whether the representations discussed herein that Defendant made
18                     about Yesterday were or are true, misleading, or likely to deceive;
19               (b)   Whether Defendant’s conduct violates public policy;
20               (c)   Whether Defendant engaged in false or misleading advertising;
21               (d)   Whether Defendant’s conduct constitutes violations of the laws
22               asserted herein;
23               (e)   Whether Plaintiffs and the other Class members have been injured
24               and the proper measure of their losses as a result of those injuries; and
25               (f)   Whether Plaintiffs and the other Class members are entitled to
26               injunctive, declaratory, or other equitable relief.
                                                     36
27                                  SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 38 of 59 Page ID #:362




 1 Typicality – Federal Rule of Civil Procedure 23(a)(3)
 2         122. Plaintiffs’ claims are typical of the other Class members’ claims because,
 3 among other things, all Class members were comparably injured through the uniform
 4 prohibited conduct described above.
 5
     Adequacy of Representation – Federal Rule of Civil Procedure 23(a)(4)
 6
 7         123. Plaintiffs are adequate representatives of the Class because Plaintiffs’
 8 interests do not conflict with the interests of the other Class members Plaintiffs seek
 9 to represent; Plaintiffs have retained counsel competent and experienced in complex
10 commercial and class action litigation; and Plaintiffs intend to prosecute this action
11 vigorously. The interests of the Class members will be fairly and adequately protected by
12 Plaintiffs and their counsel.
13
     Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2)
14
15         124. Defendant has acted or refused to act on grounds generally applicable to
16 Plaintiffs and the other Class members, thereby making appropriate final injunctive
17 relief and declaratory relief, as described below, with respect to Class as a whole.
18
     Superiority – Federal Rule of Civil Procedure 23(b)(3)
19
20         125. A class action is superior to any other available means for the fair and

21 efficient adjudication of this controversy, and no unusual difficulties are likely to be
22 encountered in the management of this class action. The damages or other financial
23 detriment suffered by Plaintiffs and the other Class members are relatively small
24 compared to the burden and expense that would be required to individually litigate their
25 claims against Defendant, so it would be impracticable for Class members to
26 individually seek redress for Defendant’s wrongful conduct. Even if Class members
                                                    37
27                                 SECOND AMENDED CLASS ACTION COMPLAINT
                                                                           2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 39 of 59 Page ID #:363




 1 could afford individual litigation, the court system could not. Individualized litigation
 2 creates a potential for inconsistent or contradictory judgments, and increases the delay
 3 and expense to all parties and the court system. By contrast, the class action device
 4 presents far fewer management difficulties, and provides the benefits of single
 5 adjudication, economy of scale, and comprehensive supervision by a single court.
 6                                   CLAIMS FOR RELIEF
 7                                          COUNT I
 8               Violation of the California Unfair Competition Law (“UCL”)
              Cal. Bus. & Prof. Code §§ 17200, et seq. (Pleading in the Alternative)
 9                              (On behalf of the California Class)
10
           126. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
11
     paragraphs as though the same were fully set forth herein.
12
           127. There is no adequate remedy at law for any unlawful, unfair, or fraudulent
13
     advertising, for any Yesterday movie sale, movie display, rental, or viewership right sold
14
     which the Court determines is not a good or service for which remedies are available under
15
     California Consumers Legal Remedies Act. For these acts for which there is no adequate
16
     remedy at law, Plaintiff Rosza brings this claim individually and/or on behalf of the
17
     California Class. Accordingly, this claim is pleaded in the alternative to the other claims
18
     set forth herein.
19
           128. Plaintiff and Defendant are “persons” within the meaning of the UCL. Cal.
20
     Bus. & Prof. Code § 17201.
21
           129. The UCL defines unfair competition to include any “unlawful, unfair
22
     or fraudulent business act or practice,” as well as any “unfair, deceptive, untrue or
23
     misleading advertising.” Cal. Bus. Prof. Code § 17200.
24
25
26
                                                   38
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 40 of 59 Page ID #:364




 1 “Unlawful” Prong
 2         130. In the course of conducting business, Defendant committed unlawful, unfair
 3 and fraudulent business practices by, among other things, making the representations
 4 (which also constitutes advertising within the meaning of § 17200) and omissions of
 5 material facts, as set forth more fully herein, and violating 15 U.S.C. §1125(a) (as false
 6 advertising under the Lanham Act) as well as Civil Code §§ 1572, 1573, 1709, 1711,
 7 1770(a)(5), (7), (9) and (16) (Consumers Legal Remedies Act (“CLRA”)) and Business &
 8 Professions Code §§ 17200, et seq., 17500, et seq. (“False Advertising Law”), and the
 9 common law. Additionally, Defendant Universal’s false statements, comprising false
10 commercial advertising pertaining to the contents of the movie Yesterday, constitute fraud,
11 fraud in contract, common law fraud, and breach of Defendant’s covenant of good faith
12 and fair dealing, thus violating California Civil Code §§ 1572, 1573, 1709, and 1711.
13         131. Plaintiff reserves the right to allege other violations of law, which constitute
14 other unlawful, unfair, and/or fraudulent business acts or practices. Such conduct is
15 ongoing and continues to this date.
16
     “Unfair Prong”
17
18         132. A business act or practice is unfair under the UCL if it offends an established
19 policy or is immoral, unethical, oppressive, unscrupulous or substantially injurious to
20 consumers, and that unfairness is determined by weighing the reasons, justifications, and
21 motives of the practice against the gravity of the harm to the alleged victims. In the course
22 of conducting business, Defendant committed “unfair” business practices by, among other
23 things, making the representations (which also constitute advertising within the meaning
24 of § 17200) and omissions of material facts regarding the movie Yesterday in its
25 advertising, as set forth more fully herein. There is no societal benefit from false
26
                                                  39
27                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                            2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 41 of 59 Page ID #:365




 1 advertising – only harm. Plaintiff and the other Class members paid for a product that
 2 did not deliver the content promised by Defendant’s advertising. While Plaintiff and the
 3 other Class members were harmed, Defendant was unjustly enriched by its false
 4 misrepresentations and omissions. As a result, Defendant’s conduct is “unfair,” as it
 5 offended an established public policy. Further, Defendant engaged in immoral, unethical,
 6 oppressive, and unscrupulous activities that are substantially injurious to consumers.
 7        133. Further, as set forth in this Complaint, Plaintiff alleges federal and state

 8 law violations of consumer protection, unfair competition, and truth in advertising laws,
 9 resulting in harm to consumers. Defendant’s acts and omissions also violate and offend
10 the public policy against engaging in false and misleading advertising, unfair
11 competition, and deceptive conduct towards consumers. This conduct constitutes
12 violations of the unfair prong of Business & Professions Code § 17200, et seq.
13        134. There were reasonably available alternatives to further Defendant’s

14 legitimate business interests, other than the conduct described herein.
15 “Fraudulent” Prong
16
          135. Business & Professions Code § 17200, et seq., also prohibits any
17
   “fraudulent business act or practice.” A business act or practice is fraudulent under the
18
   UCL if it is likely to deceive members of the consuming public, or reasonable consumers.
19
   In the course conducting business, Defendant committed “fraudulent business act or
20
   practices” by, among other things, making the representations (which also constitute
21
   advertising within the meaning of § 17200) and omissions of material facts regarding
22
   the movie Yesterday, as set forth more fully herein. Defendant made the
23
   misrepresentations and omissions regarding the content of the film Yesterday, among other
24
   ways, by misrepresenting that Ana De Armas would appear in the publicly released
25
   film when Defendant knew she would not.
26
                                                 40
27                              SECOND AMENDED CLASS ACTION COMPLAINT
                                                                         2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 42 of 59 Page ID #:366




 1         136. Defendant’s acts and practices alleged herein constitute fraudulent business

 2 acts or practices as they have deceived Plaintiffs and are highly likely to deceive reasonable
 3 consumers. Plaintiffs relied on Defendant’s fraudulent and deceptive representations
 4 regarding the movie Yesterday, which were but for material with respect to Plaintiffs’
 5 decisions to purchase the movie. Plaintiffs would not have purchased the movie Yesterday
 6 if they had known the truth.
 7        137. Defendant’s actions, claims, omissions, and misleading statements, as

 8 more fully set forth above, were also false, misleading and/or likely to deceive the
 9 consuming public within the meaning of Business & Professions Code § 17200, et seq.
10         138. Plaintiff and the other members of the Class have in fact been deceived as

11 a result of their reliance on Defendant’s material representations and omissions, which
12 are described above. This reliance has caused harm to Plaintiff and the other members
13 of the Class, each of whom paid to view or purchased Defendant’s film Yesterday.
14 Plaintiff and the other Class members have suffered injury in fact and lost money as a
15 result of paying to view or purchasing the movie Yesterday due to Defendant’s
16 unlawful, unfair, and fraudulent practices.
17         139. Defendant knew and intended, or at least should have known, that its

18 material misrepresentations and omissions would be likely to deceive and harm the
19 consuming public and result in consumers making payments to Defendant for its falsely
20 advertised film.
21       140. As a result of its deception, Defendant was unjustly enriched by receiving

22 payments from Plaintiff and the Class in return for providing Plaintiff and the Class a movie
23 product and/or service that does not include the actress Ana De Armas as promised by its
24 advertisements. Accordingly, Plaintiff, individually and on behalf of all others
25 similarly situated, and on behalf of the general public, seeks restitution from Defendant
26 of all money unlawfully obtained from Plaintiffs.
                                                   41
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 43 of 59 Page ID #:367




 1         141. Unless restrained and enjoined, Defendant will continue to engage in the

 2 unlawful, unfair and fraudulent conduct described herein. Defendant Universal is a major
 3 motion picture studio with large market share, and Plaintiffs anticipate buying or renting
 4 movies advertised with movie trailers by Defendant Universal again. Moreover, Plaintiffs
 5 would be interested in viewing a version of Yesterday which did include Ana De Armas.
 6 Accordingly, Defendant’s advertising on VUDU, including its keyword linking of Ana De
 7 Armas to Yesterday, and listing of Ana De Armas as a cast member, could deceive
 8 Plaintiffs again. For example, given Defendant’s persistent false advertising, it is
 9 reasonable for Plaintiff’s to believe that Defendant switched or will switch the version of
10 the Yesterday movie offered for sale and rent on VUDU, just as Amazon.com replaced the
11 Yesterday trailer available via Amazon Prime (a.k.a. Prime Video). Accordingly, since
12 money cannot fix future harm, Plaintiff, individually and on behalf of all others
13 similarly situated, and on behalf of the general public, seeks an injunction, including a
14 public injunction for the benefit of the general public, prohibiting Defendant from
15 continuing and further engaging in its unlawful, unfair and fraudulent conduct, requiring
16 corrective advertising, and awarding all other relief this Court deems appropriate.
17                                         COUNT II
18                Violation of the California False Advertising Law (“FAL”)
             Cal. Bus. & Prof. Code §§ 17500, et seq. (Pleading in the Alternative)
19                              (On behalf of the California Class)
20
           142. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
21
     paragraphs as though the same were fully set forth herein.
22
           143. There is no adequate remedy at law for any unlawful, unfair, or fraudulent
23
     advertising, for any Yesterday movie sale, movie display, rental, or viewership right sold
24
     which the Court determines is not a good or service for which remedies are available under
25
     California Consumers Legal Remedies Act. For these acts for which there is no adequate
26
                                                   42
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 44 of 59 Page ID #:368




 1 remedy at law, Plaintiff Rosza brings this claim individually and/or on behalf of the
 2 California Class. Accordingly, this claim is pleaded in the alternative to the other claims
 3 set forth herein.
 4        144. The FAL, in relevant part, states that “[i]t is unlawful for any … corporation

 5 …with intent … to dispose of … personal property … to induce the public to enter
 6 into any obligation relating thereto, to make or disseminate or cause to be made or
 7 disseminated …from this state before the public in any state, in any newspaper or other
 8 publication, or any advertising device, or by public outcry or proclamation, or in any
 9 other manner or means whatever, including over the Internet, any statement … which
10 is untrue or misleading, and which is known, or which by the exercise of reasonable care
11 should be known, to be untrue or misleading[.]” Cal. Bus. & Prof. Code § 17500 (emphasis
12 added).
13         145. The required intent is the intent to dispose of property, not the intent to

14 mislead the public in the disposition of such property.
15       146. Defendant violated the FAL by intentionally making literally false and

16 misleading representations in its movie trailer, and in its other advertisements for the movie
17 Yesterday, and through its use of key word linking to associate Ana De Armas’ name with
18 the movie Yesterday in search results. These literally false and misleading representations
19 led consumers to believe that Ana de Armas was in the movie Yesterday when, in reality,
20 she did not make an appearance in the movie Yesterday.
21       147. As a direct and proximate result of Defendant’s untrue and misleading

22 advertising, and use of key word linking to associate Ana De Armas’ name with the movie
23 Yesterday in search results, Plaintiff and the Class members have suffered injury in fact and
24 have lost money.
25       148. Accordingly, Plaintiff and the Class Members request that the Court order

26 Defendant to restore the money Defendant has received from Plaintiff and the members
                                                   43
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 45 of 59 Page ID #:369




 1 of the Class, and that the Court enjoin Defendant from continuing its unlawful practices,
 2 including by issuing a public injunction for the benefit of the general public, and engage in
 3 corrective advertising.
 4                                         COUNT III
                        Unjust Enrichment (Pleading in the Alternative)
 5                       (On behalf of the California and Maryland Class)
 6         149. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
 7 paragraphs as though the same were fully set forth herein.
 8       150. There is no adequate remedy at law for any unlawful, unfair, or fraudulent
 9 advertising, for any Yesterday movie sale, movie display, rental, or viewership right sold
10 which the Court determines is not a good or service for which legal remedies are available
11 under California Consumers Legal Remedies Act or the Maryland Consumer Protection
12 Act. For these acts for which there is no adequate remedy at law, Plaintiffs bring this claim
13 individually and/or on behalf of the California and Maryland Class.
14       151. This claim is pleaded in the alternative to the other claims set forth herein.
15         152. As the intended and expected result of its conscious wrongdoing, Defendant
16 has profited from and benefitted from the sales, rentals, licenses, and public theater
17 presentations of the movie Yesterday.
18         153. Defendant has intentionally sought and voluntarily accepted and retained
19 these profits and benefits, with full knowledge and awareness that, as a result of
20 Defendant’s misconduct alleged herein, Plaintiffs and the Class were not receiving a
21 product – the Yesterday movie – of the quality, nature, fitness or value that had been
22 represented by Defendant, and that a reasonable consumer would expect. Specifically,
23 Plaintiffs and the Class members expected that when they purchased or rented the movie
24 Yesterday, Ana de Armas would have a role in the movie and that other scenes appearing
25 in the Yesterday trailer would appear in the film.
26
                                                   44
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 46 of 59 Page ID #:370




 1         154. Defendant has been unjustly enriched by its fraudulent, deceptive, unlawful,

 2 and unfair conduct, and its withholding of benefits and unearned monies from Plaintiffs
 3 and the Class, at the expense of these parties.
 4         155. Equity and good conscience militate against permitting Defendant to retain

 5 these profits and benefits.
 6
 7                                         COUNT IV
                  Breach of Implied Warranty (Pleading in the Alternative)
 8          MD Comm. L. Code § 2-314, 2-315, 2-316, California Commercial Code, and
 9          Cal. Civ. Code, § 1790 et seq. (Song-Beverly Consumer Warranty Act)
                       (On behalf of the Maryland and California Classes)
10
           156. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
11
     paragraphs as though the same were fully set forth herein.
12
           157. Plaintiff Woulfe brings this claim individually and on behalf of the Maryland
13
     Class and Plaintiff Rosza brings this claim individually and on behalf of the California
14
     Class. This claim is pleaded in the alternative to the other claims set forth herein.
15
           158. The laws governing the sale of goods imply a warranty that the goods conform
16
     to the representations and specifications suppliers/merchants supply for the goods and that
17
     the goods are fit for the purposes underlying the goods sold.
18
           159. The laws governing the sale of goods also imply a warranty that the goods
19
     conform to the promises or affirmations of fact made when advertising the product.
20
           160. The purpose of these warranties is to protect consumers, as the intended
21
     beneficiaries of those warranties.
22
           161. Defendant contracted with ticket sellers, digital movie stores, DVD movies
23
     sellers, and movie theaters, and utilized co-owned Fandango and VUDU for movie sales,
24
     for the benefit of Plaintiffs and the Class members. Therefore Plaintiff Woulfe and the
25
26
                                                   45
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                              2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 47 of 59 Page ID #:371




 1 Maryland Class Members and Plaintiff Rosza and the California Class members are the
 2 intended beneficiaries of the implied warranty.
 3         162. Defendant is also a merchant that directly sells the movie Yesterday in DVD

 4 form to consumers. Maryland and California Class Members were the intended
 5 beneficiaries of the implied warranty for such DVD sales.
 6         163. The movie Yesterday, at least in some forms, is the consumer good. The trailer

 7 for the movie Yesterday was a sample of the movie offered to consumers to entice them to
 8 buy the movie goods.
 9         164. Defendant breached its implied warranties pertaining to the content of the

10 movie Yesterday, because the movie Yesterday did not contain Ana de Armas or other
11 omitted content, as Defendant’s movie trailer (i.e., the movie sample) and other advertising
12 promised to consumers.
13      165. Defendant cannot provide a remedy or provide conforming goods because the

14 movie Yesterday has already been displayed to Plaintiff Woulfe and Maryland Class
15 Members and Plaintiff Rosza and the California Class Members without Ana de Armas
16 and other scenes.
17       166. Defendant’s breach of the implied warranty of merchantability injured

18 Plaintiff Woulfe and the Maryland Class and Plaintiff Rosza and the California Class
19 Members by inducing Maryland and California movie viewers, respectively, to pay for
20 purchasing or viewing the movie Yesterday, using advertising which falsely warranted the
21 movie as including content, including a performance by the actress Ana De Armas, which
22 it did not.
23        167. Defendant’s actions breached implied warranties made to consumers in

24 violation of Maryland law and California law.
25        168. Plaintiff notified Defendant in writing on February 9, 2022, prior to the service

26 of the original complaint in this case on March 18, 2022, that Yesterday did not conform
                                                  46
27                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                            2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 48 of 59 Page ID #:372




 1 to the promises and affirmations made by Defendant’s advertisements of the movie
 2 Yesterday to Plaintiffs. More specifically, Plaintiffs advised Defendant in writing that the
 3 movie received was not the movie promised, by specifically explaining that Defendant’s
 4 advertisments (including the movie sample, in the form of a trailer) misrepresented to
 5 Plaintiffs that Ana De Armas and other omitted content were present in the movie
 6 Yesterday, when she and it was not. Moreover, Plaintiffs offered Defendant an opportunity
 7 to remedy its breaches, which Defendant ignored.
 8       169. Defendant’s unlawful conduct entitles Plaintiffs and the Class to: (a) damages,

 9 in an amount to be determined at trial, and (b) an order enjoining Defendant from
10 continuing to offer the movie Yesterday for sale or rent or license without Ana De Armas
11 or without other scenes falsely advertised as included within the film.
12
13                                         COUNT V
                       Violation of Maryland’s Consumer Protection Act
14                                (Pleading in the Alternative)
15                            MD Comm. L. Code § 13-301 et seq.
                                (On behalf of the Maryland Class)
16
           170. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
17
     paragraphs as though the same were fully set forth herein.
18
           171. Plaintiff Woulfe brings this claim individually and on behalf of the members
19
     of the Maryland Class. This claim is pleaded in the alternative to the other claims set forth
20
     herein.
21
           172. Plaintiff Woulfe and the Maryland Class members are consumers within the
22
     meaning of the Maryland Consumer Protection Act, §13-201 et seq. (the “Maryland Act”).
23
           173. The Maryland Act expressly notes that unfair or deceptive trade practices
24
     include:
25
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27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 49 of 59 Page ID #:373




 1            a. False, falsely disparaging, or misleading oral or written statement, visual

 2               description, or other representation of any kind which has the capacity,

 3               tendency, or effect of deceiving or misleading consumers;

 4            b. Representation that:

 5                  i. Consumer goods, consumer realty, or consumer services have a

 6                     sponsorship, approval, accessory, characteristic, ingredient, use,

 7                     benefit, or quantity which they do not have;

 8            c. Deception, fraud, false pretense, false premise, misrepresentation, or knowing

 9               concealment, suppression, or omission of any material fact with the intent that

10               a consumer rely on the same in connection with:

11                  i. The promotion or sale of any consumer goods, consumer realty, or

12                     consumer service.

13        174. Maryland Code, Commercial Law Article, 13-408, a provision of Maryland’s

14 Consumer Protection Act, expressly authorizes civil actions by consumers, like Plaintiff
15 Woulfe.
16        175. Defendant engages in “trade” and “commerce” generally and as it pertains to

17 the distribution of the movie Yesterday for sale or rent to consumers within the state of
18 Maryland.
19        176. Defendant’s movie trailer for the film Yesterday, and/or other movie

20 advertisements, represent that the actress Ana De Armas, as well as certain omitted scenes,
21 would be featured in the movie Yesterday, when she is not and the scenes are not.
22        177. Defendant’s movie advertisements indivudally and collectively are false,

23 deceptive, and misleading because they represent that actress Ana de Armas, and other
24 omitted scenes, would be featured in the movie Yesterday, when she is not and the scenes
25 are not. Defendant’s false advertising provided no countervailing benefit to Plaintiffs or
26 the Class Members.
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27                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                            2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 50 of 59 Page ID #:374




 1        178. The content of Defendant’s movie trailer for the movie Yesterday, which was

 2 omitted from the publicly released film, is and was collectively material to a reasonable
 3 consumer and is and was designed to affect consumer decisions and conduct. Defendant’s
 4 non-trailer advertising of Yesterday was also collectively material to a reasonable consumer
 5 and is and was designed to affect consumer decisions and conduct.
 6        179. Defendant understood and intended that the representations in the movie

 7 trailer for Yesterday, and in other false advertisements, would influence consumer
 8 behavior.
 9        180. Defendant understood that it has an obligation to ensure the honesty of all

10 promotions and to avoid misleading the public regarding the movie Yesterday.
11      181. Defendant’s misleading movie trailer, and other false advertising of

12 Yesterday, constitutes an unfair method of competition and unfair and/or deceptive acts or
13 practices in the conduct of trade or commerce for movie sales and rentals and licenses to
14 consumers.
15      182. Defendant’s acts and practices offend public policy as established by statute.

16        183. Defendant’s acts and practices are immoral, unethical, oppressive, and

17 unscrupulous.
18       184. Defendant’s conduct substantially injured actual and potential consumers, the

19 public and competition. Defendant knowingly induced viewership, sales, rentals, and
20 licenses of the movie Yesterday within the state of Maryland, using a false and deceptive
21 movie trailer and other false advertisements for monetary gain from Plaintiff Woulfe, the
22 Maryland Class members, and other consumers who would not have paid to view, rent,
23 buy, or license Yesterday but for Defendant’s false and misleading conduct.
24       185. Defendant’s conduct materially affected available information regarding its

25 Yesterday movie within Maryland.
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27                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                           2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 51 of 59 Page ID #:375




 1         186. Defendant’s conduct improperly distorted the information available to the

 2 public regarding the movie Yesterday.
 3       187. Defendant’s actions caused consumers to pay for the movie Yesterday, by

 4 deceiving consumers into believing the movie had content that it does not. These injuries
 5 are not outweighed by any countervailing benefits to consumers or competition. No legally
 6 cognizable benefit to consumers or competition results from Defendant’s misconduct.
 7       188. Plaintiff Woulfe and the Maryland Class purchased ownership or rental copies

 8 of the movie Yesterday, or movie display services of Yesterday, for personal, family or
 9 household use. Thus, the practices discussed above constitute unfair competition or unfair,
10 unconscionable, deceptive, or unlawful acts or business practices in violation of the
11 Maryland Act.
12         189. The foregoing unfair and deceptive practices directly, foreseeably, and

13 proximately caused Plaintiff Woulfe and the Maryland Class to suffer ascertainable losses
14 when they were deceived into paying to view, buy, rent, or license the movie Yesterday,
15 when they would not have but for Defendant’s false, deceptive, and misleading
16 advertisements and representations. Consequently, Defendant has been unjustly enriched
17 by gaining revenues for movie sales, rentals, and licenses, which it only gained because of
18 its unlawful conduct.
19         190. Plaintiff Woulfe and the Maryland Class are entitled to recover damages and

20 other appropriate relief, as alleged below.
21
22                                       COUNT VI
         Breach of Express Warranty in Violation of the Uniform Commercial Code
23                             (Pleading in the Alternative)
24                    (on behalf of the California and Maryland Class)

25         191. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
26 paragraphs as though the same were fully set forth herein.
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27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
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Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 52 of 59 Page ID #:376




 1         192. Plaintiffs bring this claim individually and on behalf of the California and

 2 Maryland Class. This claim is pleaded in the alternative to the other claims set forth herein.
 3 Defendant sold Yesterday DVDs directly to consumers as well as contracted with ticket
 4 sellers, digital movie stores, DVD movie sellers and movie theaters, and utilized co-owned
 5 Fandango and VUDU for Yesterday movie sales, for the benefit of Plaintiffs and the Class.
 6 Therefore, Plaintiffs Woulfe and Maryland Class Members, and Plaintiff Rosza and the
 7 California Class members, are the intended beneficiaries of the express warranty. The
 8 movie Yesterday, at least in some forms, is the consumer good.
 9      193. Defendant’s Yesterday movie trailer expressly warrants that the movie

10 Yesterday would feature Ana de Armas and other omitted scenes.
11       194. Further, Defendant’s representations in cast listings and key word linking of

12 Ana De Armas’ name to the movie Yesterday on VUDU, are express warranties that Ana
13 De Armas is a cast member in the full length movie.
14         195. Defendants breached their express warranties to Plaintiffs and the Maryland

15 and California Class because actress Ana de Armas, and other omitted but promoted
16 scenes, did not appear in the movie Yesterday.
17         196. As a result of Defendant’s breach of its express warranties, Plaintiffs and the

18 Maryland and California Class have suffered actual damages because they purchased or
19 rented or licensed products that they would not have, but for Defendant’s unlawful conduct.
20
21                                       COUNT VII
                        Violation of the California Consumers Legal
22                   Remedies Act (“CLRA”) (Pleading in the Alternative)
23                            (on behalf of the California Class)

24         197. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
25 paragraphs as though the same were fully set forth herein.
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27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 53 of 59 Page ID #:377




 1         198. Plaintiff Rosza brings this claim individually and on behalf of the California

 2 Class. This claim is pleaded in the alternative to the other claims set forth herein.
 3        199. Plaintiffs are “consumers” and Defendant is a “person” within the meaning

 4 of the CLRA. Cal. Civ. Code § 1761 (c) and (d).
 5        200. The theatrical presentations, utilizing physical film or digital film sources,

 6 physical DVD movie sales, and online movie rentals and sales of the movie Yesterday are
 7 “goods” or “services” within the meaning of the CLRA. Cal. Civ. Code § 1761(a), (c) and
 8 (d).
 9         201. Defendants’ DVD versions of the movie Yesterday, at the very least, are

10 “goods,” as are any other physical film or digital movie versions. Cal. Civ. Code § 1761(a),
11 (c) and (d).
12         202. During Plaintiffs’ rental of the movie Yesterday, Defendant’s agent monitored

13 the internet speed of Plaintiff’s internet connection and adjusted the resolution of Plaintiff’s
14 movie play in real-time to optimize playback. Moreover, Defendant’s agent provided its
15 X-Ray service (discussed supra) during the play of the movie, and maintained the
16 availability of its customer service and technical support personnel. Defendant’s agent also
17 stored the movie in Plaintiff’s “My Stuff” folder so that Plaintiff had the ongoing ability to
18 access, view, and stream the video content for up to 30 days. For these and other reasons
19 described herein (or as may be further pleaded or evidenced if needed), the play and active
20 monitoring of the play of the movie on behalf of Plaintiff, utilizing physical equipment and
21 tailored and monitored data streams, constitutes a “service” within the meaning of the
22 CLRA. For similar reasons - also including the delivery of trailers, movie suggestions, and
23 movie reviews – the active monitoring and adjustment of Yesterday movie plays on other
24 movie platforms, including the VUDU platform, constitutes a “service” within the meaning
25 of the CLRA In addition, and similarly, Defendant’s theatrical presentations of Yesterday
26 involved the play of physical movie copies and the providing of food and drink, and in
                                                   52
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                              2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 54 of 59 Page ID #:378




 1 some cases the supply of luxury seating, dining, and beverage (wine, beer, cocktails, etc.)
 2 experiences, such as at Cinepolis theaters (i.e., where service and support staff assist movie
 3 customers during movie showings). Likewise, during Yesterday movie play, if any
 4 technical difficulties were experienced with the movie, theater staff were present to resolve
 5 the movie play issues to maximize movie enjoyment. This plethora of services, all provided
 6 collectively to movie consumers to maximize consumers’ enjoyment of Yesterday,
 7 collectively constitute a “service” within the meaning of the CLRA. Cal. Civ. Code §
 8 1761(a), (c) and (d).
 9         203. Defendant’s theatrical presentations, sale, rental, and advertisement of its

10 movie Yesterday constitute “transactions” within the meaning of the CLRA. Cal. Civ. Code
11 § 1761(e).
12         204. The CLRA declares as unlawful the following unfair methods of

13 competition and unfair or deceptive acts or practices when undertaken by any person
14 in a transaction intended to result, or which results in the sale of goods to any consumer:
15               (5)      Representing that goods or services … have … characteristics,

16               ingredients, [and] benefits … which [they do] not have ….

17               (7)      Representing that goods … are of a particular standard, quality or

18               grade … if they are of another.

19               (9)      Advertising goods or services …with intent not to sell them as

20               advertised.

21               (16) Representing that [goods or services] have been supplied in

22               accordance with a previous representation when [they have] not.         27 Cal.

23               Civ. Code § 1770(a)(5), (7), (9) and (16).

24         205. Defendant violated the CLRA by representing that its movie Yesterday

25 included scene elements and an actress when it did not. For example, Defendant’s trailers
26 for Yesterday falsely represented that the movie featured the actress Ana De Armas, the
                                                   53
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                             2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 55 of 59 Page ID #:379




 1 “something”-song-joke, a scene from James Corden’s talk show, and the performance of
 2 The Beatles’ song “Something,” when, in reality, it did not. Defendant’s other advertising
 3 made similar misrepresentations and false statements.
 4      206. Defendant knew or should have known that its movie trailer representations,

 5 and other advertisements, were false and misleading, and that it omitted material facts that
 6 would alter any consumer’s decision to view, purchase, or rent the film.
 7        207. Defendant knew or should have known that its false and misleading cast

 8 listings, and use of key word linking of Ana De Armas’ name to the movie Yesterday,
 9 constituted representations that were false, misleading, deceitful, unfair, deceptive, and
10 fraudulent and that consumers would rely upon Defendant’s representations. Defendant
11 also knew or should have known that it omitted material facts that would alter any
12 consumer’s decision to view, purchase, or rent the film.
13      208. Defendant’s violations of the CLRA proximately caused injury in fact

14 to Plaintiff and the Class.
15        209. Plaintiff and the Class members attended theatrical presentations, viewed,

16 purchased, or rented Defendant’s movie Yesterday (or Defendant’s Yesterday movie play
17 services) based upon the belief that the trailer, and Defendant’s other advertisements,
18 accurately represented the content of the movie. For example, Plaintiff and the Class
19 members believed that the actress Ana De Armas, as well as omitted scene elements and
20 songs appearing in the trailer, would appear in the film.
21       210. Plaintiff and the Class members viewed, purchased, or rented Yesterday on

22 the belief that they would receive the advertised film content.
23       211. Defendant’s film Yesterday did not and cannot provide the advertised content.

24 Accordingly, Plaintiff and each Class member was injured by the mere fact of their
25 purchase of movie tickets, movie downloads, physical copies, or rentals of the film or
26 purchase of the movie display services.
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27                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                           2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 56 of 59 Page ID #:380




 1         212. Pursuant to Cal. Civ. Code § 1782(d), Plaintiff, individually and on behalf

 2 of the other members of the Class, seeks a Court order enjoining the above-described
 3 wrongful acts and practices of Defendant and for restitution and disgorgement.
 4         213. Pursuant to Cal. Civ. Code § 1782(a), Defendant was notified in writing

 5 by both electronic and certified mail of the particular violations of Section 1770 of the
 6 CLRA, which notification demanded that Defendant rectify the problems associated with
 7 the actions detailed above and give notice to all affected consumers of Defendant’s intent
 8 to so act. A copy of the letter, which was emailed to Defendant on February 11, 2022 and
 9 delivered by certified mail, return receipt requested, to Defendant on February 18, 2022, is
10 attached hereto as Exhibit B.
11         214. Defendant has failed to rectify or agree to rectify the problems associated with

12 the actions detailed above and to give notice to all affected consumers within thirty (30)
13 days of the date of written notice pursuant to Cal. Civ. Code §1782, and thus Plaintiff is
14 timely filing this Amended Complaint for damages pursuant to the CLRA. Therefore,
15 Plaintiff further seeks claims for actual, punitive and statutory damages, as appropriate.
16 Such damages include statutory damages awards under Cal. Civ. Code §1780(b)(1) for the
17 members of the California Class.
18         215. Defendant’s conduct is fraudulent, wanton, and malicious.

19         216. Pursuant to Cal. Civ. Code §1780(d), attached hereto as Exhibit C is the

20 affidavit showing that this action has been commenced in the proper forum.
21
22                                  REQUEST FOR RELIEF
23
           WHEREFORE, Plaintiffs, individually and on behalf of the other members of
24
     the proposed Class, respectfully request that the Court enter judgment in Plaintiffs’
25
     favor and against Defendant, in combination or in the alternative, as follows:
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                                                   55
27                                SECOND AMENDED CLASS ACTION COMPLAINT
                                                                            2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 57 of 59 Page ID #:381




 1        A.     Declaring that this action is a proper class action, certifying the Classes

 2 as requested herein, designating Plaintiffs as Class Representatives, appointing the
 3 undersigned counsel as Class Counsel, and ordering Defendant to notify the members of
 4 the Classes;
 5       B.     Ordering restitution and disgorgement of all profits and unjust enrichment

 6 that Defendant obtained from Plaintiffs and the Class members as a result of Defendant’s
 7 unlawful, unfair and fraudulent business practices;
 8        C.     Ordering injunctive relief as permitted by law or equity, including enjoining

 9 Defendant from continuing the unlawful practices as set forth herein, including by
10 ordering a public injunction for the benefit of the general public, and ordering
11 Defendant to engage in a corrective advertising campaign;
12      D.     Ordering damages, including punitive damages, for Plaintiffs and the Classes;

13        E.     Ordering Defendant to pay attorneys’ fees and litigation costs to Plaintiffs

14 and the other members of the Class;
15       F.     Ordering Defendant to pay both pre- and post-judgment interest on any

16 amounts awarded; and
17      G.    Ordering such other and further relief as may be just and proper.

18
19                               DEMAND FOR JURY TRIAL
20        Plaintiffs respectfully demand a trial by jury in this action.
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27                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                           2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 58 of 59 Page ID #:382




 1                                          Respectfully submitted,
                                            LEJEUNE LAW, P.C.
 2
     Dated: June 6, 2022June 7, 2022        By:    /s/ Cody R. LeJeune
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27                              SECOND AMENDED CLASS ACTION COMPLAINT
                                                                         2:22-cv-00459-SVW-AGR
28
Case 2:22-cv-00459-SVW-AGR Document 36 Filed 06/06/22 Page 59 of 59 Page ID #:383




 1                               CERTIFICATE OF SERVICE

 2         I hereby certify that on June 6, 2022, I filed the foregoing using the Court’s ECF
 3
     system, which served a copy of the foregoing to all counsel of record.
 4
 5
 6
 7 Dated: June 6, 2022                             /s/Cody R. LeJeune
                                                   Cody R. LeJeune
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27                               SECOND AMENDED CLASS ACTION COMPLAINT
                                                                              2:22-cv-00459-SVW-AGR
28
